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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                   )
                                              )
                        Plaintiff,            )
                                              )
         vs.                                  )      Cause No. 1:01-cr-0089-15 (JMS/KPF)
                                              )
  WILBERT AVANT,                              )
                                              )
                        Defendant.            )


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         Having reviewed Magistrate Judge Kennard P. Foster’s Report and Recommendation that

  Wilbert Avant’s supervised release be modified, pursuant to Title 18 U.S.C. §3401(i), Rule

  32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now approves

  and adopts the Report and Recommendation as follows:

         a.     Defendant will be placed in a Residential Reentry Center, namely, Volunteers of
                America for up to six months, at the discretion of the U. S. Parole and Probation
                Office.

         b.     Upon completion of his residence at the Volunteers of America, he will return to
                supervised release under the previously-imposed conditions.


         SO ORDERED this _______ day of September, 2012.

               09/26/2012

                                                   _______________________________

                                                     Hon. Jane Magnus-Stinson, Judge
                                                     United States District Court
                                                     Southern District of Indiana
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  U. S. Marshal Service




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